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     William D. Hyslop
 1 United States Attorney
   Eastern District of Washington
 2 Thomas J. Hanlon
   Assistant United States Attorney
 3 402 E. Yakima Avenue, Suite 210
   Yakima, Washington 98901
 4 (509) 454-4425

 5                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
 6

 7 UNITED STATES OF AMERICA,

 8
                         Plaintiff,
 9                                                     NO: 1:19-CR-2032-SMJ-1
10         vs.
11                                                     GOVERNMENT’S NOTICE OF
                                                       INTENT FRE 609
12   JAMES DEAN CLOUD,
13

14                       Defendant.
15

16         COMES NOW the Plaintiff, United States of America, by and through the
17 United States Attorney for the Eastern District of Washington, William D. Hyslop,

18 and Assistant United States Attorneys, Thomas J. Hanlon and Richard C. Burson, and

19 herein discloses the Government's intent to introduce evidence pursuant to Federal

20 Rule of Evidence 609 as follows:

21         As pertinent, Rule 609(a) of the Federal Rules of Evidence provides as follows:
22 The following rules apply to attacking a witness's character for truthfulness by

23 evidence of a criminal conviction:

24 (1) for a crime that, in the convicting jurisdiction, was punishable by death or by

25 imprisonment for more than one year, the evidence:

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 1 (B) must be admitted in a criminal case in which the witness is a defendant, if the

 2 probative value of the evidence outweighs its prejudicial effect to that defendant; and

 3 (2) for any crime regardless of the punishment, the evidence must be admitted if the

 4 court can readily determine that establishing the elements of the crime required

 5 proving-or the witness's admitting-a dishonest act or false statement.

 6          For purposes of impeachment, the Government intends to elicit on cross-

 7 examination and, if necessary, through public records, the following prior felony

 8 convictions:

 9
       1)      On or about July 21, 2010, Defendant committed the offenses of Count 1,

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               Crime on Indian Reservation - Burglary and Count 2, Possession of Stolen
               Firearms, both felony offenses, and Defendant was convicted of such felony
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               offenses on March 1, 2011, in the United States District Court – Eastern
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               District of Washington, in Cause Number 2:10-CR-2077-RMP-1. On
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               September 1, 2016, the Defendant was resentenced to credit for time served
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               (2,232 days in prison). On November 17, 2016, the defendant was
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               sentenced to two months in jail for a supervised release violation. On July
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               11, 2017, the defendant was sentenced to three months in jail for a
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               supervised release violation and his supervision was terminated.
18
       2)      On or about August 18, 2008, Defendant committed the offenses of Count 1,
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               Attempt to Elude Police Vehicle, and Count 2, Possession of Stolen Vehicle,
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               both felony offenses, and Defendant was convicted of such felony offenses
21
               on December 4, 2008, in the Superior Court for Yakima County, in Cause
22
               Number 08-1-01650-7. As to Count 2, Defendant was sentenced to 25
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               months confinement. On January 15, 2019, Defendant began a term of
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               community confinement. After multiple sanctions, on June 17, 2010,
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               Defendant was sentenced to 60 days in jail.
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 2

 3                                          ARGUMENT
 4         The Ninth Circuit has outlined five factors that should guide the district court's
 5 decision whether to admit evidence under Rule 609(a)(1):

 6    1. the impeachment value of the prior crime

 7    2. the point in time of the conviction and the witness' subsequent history

 8    3. the similarity between the past crime and the charged crime

 9
      4. the importance of the defendant's testimony

10
      5. the centrality of the credibility issue
           See United States v. Cook, 608 F.2d 1175, 1185 n. 8 (9th Cir. 1979)(en banc);
11
     see also United States v. Wallace, 848 F.2d 1464, 1473 n. 12 (9th Cir. 1988).
12
     Although the trial judge is not required to state his or her analysis of each of the five
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     factors with special precision, "the record should reveal, at a minimum, that the trial
14
     judge 'was aware of the requirements of Rule 609(a)(1).' " Wallace, 848 F.2d at 1473
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     (quoting United States v. Givens, 767 F.2d 574, 579 80 (9th Cir. 1985)).
16
     Evidence of a prior conviction may be admitted for impeachment purposes if the
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     probative value outweighs the prejudicial effect of admission. United States v.
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     Martinez-Martinez, 369 F.3d 1076, 1088 (9th Cir. 2004), citing, United States v.
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     Cook, 608 F.2d 1175, 1185 (9th Cir. 1979)(en banc), overruled on other grounds, Luce
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     v. United States, 469 U.S. 38 (1984). “Rule 609(a)(1) presumes that all felonies are at
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     least somewhat probative of a witness’s propensity to testify truthfully.” United
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     States v. Estrada, 430 F.3d 606, 617 (2d Cir. 2005). “When a defendant takes the
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     stand and denies having committed the charges offenses, he places his credibility
24
     directly as issue.” United States v. Alexander, 48 F.3d 1477, 1489 (9th Cir.
25
     1995)(citations omitted).
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 1         In Martinez-Martinez, the defendant was charged with attempted illegal reentry
 2 into the United States. United States v. Martinez-Martinez, 369 F.3d at 1078. At trial,

 3 the Government was permitted to impeach the defendant with his seven-year-old

 4 felony conviction for possession of marijuana for sale. In considering whether to

 5 permit the Government to use the prior conviction, the district court found that

 6 credibility, specifically “the defendant’s character for honesty, is a factor that will be

 7 weighed by the jury in this case.” Id. at 1088. The district court then allowed the

 8 Government to impeach the defendant with his “sanitized” felony conviction. Id. The

 9
     Ninth Circuit found that the district court did not abuse its discretion in allowing the

10
     prior conviction as impeachment of the defendant’s testimony. Id.
           In the present case, the credibility of the Defendant, if he chooses to testify, is
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     of paramount importance. The jury should have all the information, including the
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     Defendant’s prior felony convictions, which reflect on the Defendant’s credibility.
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14
                                          CONCLUSION
15
           It is requested that this Court determine whether the probative value of the
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     Defendant’s prior conviction evidence outweighs the possibility of prejudice. The
17
     facts of the present case indicate that credibility of the Defendant is likely to be a
18
     paramount issue. Thus, if the Defendant intends to exercise his right to testify in
19
     support of his case, it would be unfair and misleading to the jury to allow the
20
     Defendant to appear as a pristine and innocent witness who lacks any previous
21
     criminal background. In such circumstances, the Defendant’s prior convictions are
22
     probative of credibility.
23
           For the foregoing reasons, the Government requests that this Court allow the
24
     Government to use the Defendant’s prior felony convictions as impeachment evidence
25
     should he testify at trial. If the defendant chooses to testify at trial, the Government
26
     seeks to impeach the defendant with the felony criminal convictions noted above,
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 1 which satisfy the five requirements, and in which the probative value outweighs any

 2 prejudicial effect.

 3

 4

 5         Respectfully submitted this 16th day of January, 2020.

 6
                                      William D. Hyslop
 7                                    United States Attorney
 8
                                      s/ Thomas J. Hanlon
 9                                    THOMAS J. HANLON
10                                    Assistant U.S. Attorney
11

12                                    s/ Richard C. Burson
                                      RICHARD C. BURSON
13                                    Assistant U.S. Attorney
14

15

16

17
           I hereby certify that on January 16, 2020, I electronically filed the foregoing
18
     with the clerk of the Court using the CM/ECF System which will send notification of
19
     such filing to the following: John B. McEntire, IV., Jeremy B. Sporn, Lorinda
20
     Youngcourt.
21

22

23                                          s/ Thomas J. Hanlon
                                            Thomas J. Hanlon
24                                          Assistant United States Attorney
                                            United States Attorney’s Office
25                                          402 E. Yakima Ave., Suite 210
                                            Yakima, WA 98901
26                                          (509) 454-4425
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